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 7
      Attorneys for Plaintiff MARIA ESTRADA, as an individual and on behalf of all
 8    similarly situated employees.
 9
                        UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA
11
12    MARIA ESTRADA, as individuals           Case No.: 2:22-CV-00572-SPG(AGRx)
13    and on behalf of all similarly situated
      employees,                              NOTICE OF MOTION AND
14                                            MOTION FOR FINAL APPROVAL
                          Plaintiffs,         OF CLASS ACTION AND PAGA
15                                            SETTLEMENT
            v.
16
17    DENNY’S INC., and DOES 1 through Assigned to Honorable Hon. Sherilyn P.
      10, inclusive,                   Garnett, Ct. Rm 5C
18
                       Defendant.            DATE: June 26, 2024
19                                           TIME: 1:30 p.m.
20                                           COURTROOM: 5C
21                                           Action Filed:   December 9, 2021
22                                           Action Removed: January 26, 2022
                                             Trial Date:     None Yet Set
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       NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF CLASS
                     ACTION AND PAGA SETTLEMENT
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 1    TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 2    RECORD:
 3          PLEASE TAKE NOTICE that on June 26, 2024, at 1:30 p.m., in
 4    Courtroom 5C of the United States District Court for the Central District of
 5    California located at 350 W. 1st Street, Los Angeles, California, Plaintiffs MARIA
 6    ESTRADA and MYRA DELEON (“Plaintiffs”), hereby do move this Court,
 7    pursuant to the Federal Rules of Civil Procedure, Rule 23(e), for an order granting
 8    final approval of the class action and PAGA settlement between Plaintiffs and
 9    Defendant DENNY’S, INC. (referred to herein as “Defendant”) (Plaintiffs and
10    Defendant are referred to collectively as the “Parties”), memorialized in the
11    Parties’ Class Action and PAGA Settlement Agreement and Class Notice
12    (“Settlement Agreement”), and preliminarily approved by this Court on March 1,
13    2024. (Dkt. No. 58.)
14          This Motion is based upon: (1) this Notice of Motion and Motion; (2) the
15    Memorandum of Points and Authorities in Support of Motion for Final Approval
16    of Class Action Settlement; (3) the Katherine J. Odenbreit in Support of the
17    Motion; (4) the Declarations of Kevin Mahoney (Dkt. 52-2), Raleigh Dixon (Dkt.
18    52-3) and Class Representative Maria Estrada filed in support of Preliminary
19    Approval of Settlement (Dkt. 52-8); (5) the Declaration of Kevin Lee of Phoenix
20    Settlement Administrators; (6) the Parties’ Settlement Agreement; (7) the
21    [Proposed] Order Granting and Judgment Re: Final Approval of Class Action an
22    PAGA Settlement; (8) the records, pleadings, and papers filed in this Action; and
23    (9) such other documentary and oral evidence or argument as may be presented to
24    the Court at or prior to the hearing of this Motion.
25    ///
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        NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF CLASS
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 1    Dated: May 28, 2024               MAHONEY LAW GROUP, APC
 2
                                        By: Katherine J. Odenbreit
 3
                                        Kevin Mahoney
 4                                      Katherine J. Odenbreit
                                        Attorney for Plaintiffs MARIA ESTRADA,
 5
                                        as an individual and on behalf of employees
 6                                      similarly situation and MYRA DE LEON,
 7                                      as an individual and Representative
                                        Plaintiff on behalf of the State of California
 8                                      and all aggrieved employees
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2          Plaintiffs MARIA ESTRADA (“Plaintiff Estrada”) and MYRA DELEON 1
 3    (“Plaintiff DeLeon”) (collectively “Plaintiffs”) submit this memorandum in
 4    support of the unopposed Motion for Final Approval of Class Action Settlement
 5    (“Motion”).2 The proposed settlement reached by Plaintiffs and Defendant
 6    DENNY’S, INC. (referred to herein as “Defendant”) (Plaintiffs and Defendant are
 7    referred to collectively as the “Parties”), as memorialized in the Parties’ Class
 8    Action and PAGA Settlement Agreement and Class Notice (“Settlement
 9    Agreement”), is fair, adequate, and reasonable, and thus warrant final approval, for
10    the reasons provided herein. (Declaration of Katherine J. Odenbreit (“Odenbreit
11    Dec.”), Ex. A).
12    I.    INTRODUCTION
13          The Parties3 hereto have reached a settlement in this matter, which is subject
14    to the final approval of this Court. Plaintiffs request that the Court grant final
15    approval of the Parties’ Settlement Agreement, pursuant to Rule 23, subdivision
16    (e) of the Federal Rules of Civil Procedure. The non-reversionary settlement
17    amount of four million dollars ($4,000,000.00) is “fair, reasonable, and adequate”
18    within the meaning of Rule 23(e). The Class includes eight thousand five hundred
19    fifty-nine (8,559) employed by Defendant within the state of California at any time
20    1
        At preliminary approval the Court denied Plaintiff Myra DeLeon’s request for a
21    service payment as the PAGA Representative Plaintiff. (See Dkt. No. 58, pp. 27-
22    28). However, Plaintiff DeLeon does seek to obtain final approval for the PAGA
      allocation. For ease of reference, the motion refers to “Plaintiffs” instead of
23    separating them out as Class Representative and PAGA Representative unless
24    otherwise stated.
      2
        Filed concurrently herewith is Plaintiffs’ Motion for Attorneys’ Fees, Costs and
25    Class Representative Service Payment.
26
      3
        All capitalized terms appearing in this Memorandum that are not defined herein
      have the same meanings assigned to them as provided in the Parties’ Settlement
27    Agreement. (Odenbreit., Ex. A)
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 1    from December 9, 2017 through August 4, 2022 (the “Class Period”). Class
 2    Members stand to recover substantial and immediate monetary benefits under the
 3    settlement with an average estimated Gross Recovery of two hundred ninety-seven
 4    dollars and fort-two cents ($297.42) per Settlement Class Member. (Declaration of
 5    Kevin Lee (“Lee Dec.”) ¶ 14.)
 6          The settlement is in line with the strength of Class Members’ claims given
 7    the risk, expense, complexity, and likely duration of further litigation, including
 8    the risks of establishing liability, proving damages at trial and on appeal, and the
 9    risks of securing and maintaining class action status throughout the trial and on
10    appeal. (See Churchill Vill., L.L.C. v. Gen. Elec., 361 F.3d 566, 575–76 (9th Cir.
11    2004) (citing Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998)). It is
12    uncertain whether Plaintiffs would have ultimately been able to certify and
13    maintain the case as a class action, and to have prevailed on liability for the Class
14    through summary judgment, at trial, and on appeal. Weighing the risks, time, and
15    expense of continued litigation against the substantial benefits afforded now by the
16    proposed settlement, Class Counsel represents that the proposed settlement is in
17    the best interest of the Class.
18          In connection with requesting final settlement approval, Plaintiffs also
19    request that the Court: (1) confirm as final the certification of the Class under
20    Federal Rules of Civil Procedure, rule 23, 28 U.S.C.A.(a) and 23(b)(3); (2) confirm
21    as final the appointment of Plaintiff Estrada as the class representative of the Class;
22    and (3) enter the proposed final approval order and enter judgment. Plaintiffs also
23    request the Court award Class Counsel’s requested attorney’s fees and costs in a
24    separate motion filed concurrently herewith. Finally, while the settlement is not
25    contingent upon any service payment, Plaintiff Estrada requests the Court award a
26    service payment to compensate her for service to and the risks taken on behalf of
27    the Class, as provided on a separate motion filed concurrently herewith.
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 1           II.    FACTUAL AND PROCEDURAL HISTORY
 2          These cases have a long and winding history which is set forth in the Court’s
 3    Order granting preliminary approval. (See Dkt. No. 58, pp. 3-4).
 4          Plaintiffs are former non-exempt hourly workers who worked for Defendant
 5    in the State of California between December 9, 2017 to August 4, 2022 (“Class
 6    Period”). On December 9, 2021, Plaintiff Estrada filed this wage and hour class
 7    action, alleging that Defendant violated California labor laws by failing to pay
 8    wages for all hours worked, failing to pay overtime, failing to timely pay wages to
 9    employees whose employment had terminated, failing to reimburse employees for
10    necessary expenditures and failing to provide accurate itemized wage statements.
11    Plaintiff Estrada further alleges that Defendants violated the unfair competition law
12    (Bus. & Prof. Code § 17200, et seq.). (Declaration of Katherine J. Odenbreit
13    (“Odenbreit Dec.”), ¶4.) On June 2, 2020, Representative Plaintiff De Leon filed
14    an action in the Los Angeles Superior Court for alleged violations of the California
15    Private Attorney Generals Act (“PAGA”). 4 Plaintiff De Leon alleges Defendant
16    violated the following sections of the California Labor Code for which she sought
17    civil penalties on behalf of the State of California and all aggrieved employees: 201,
18    202, 203, 204, 221-225.5, 226, 226.7, 510, 512, 558, 1174, 1194, 1197, and 2802
19    as well as Wage Order No. 5, subdivisions 3, 5, 9, 11 and 12. (Odenbreit Dec., ¶4).
20          In addition, Plaintiff DeLeon filed an individual case filed in the Los Angeles
21    Superior Court on October 25, 2019 alleging retaliation and wrongful termination
22    claiming she was harassed and terminated for her sexual orientation and for
23    reporting and complaining about the very wage and hour claims at issue in this case.
24    (See De Leon v. Denny’s, USDC Case No. 2:20-cv-01668-DMG-PJW, Dkt. No. 1-
25    1, p. 4:22-8:20). Although Ms. DeLeon’s class case was dismissed, the litigation of
26    4
       Plaintiff DeLeon also previously filed a putative class action against Defendant
27    which was subsequently dismissed. (Odenbreit Dec., ¶6.)
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                    MEMORANDUM OF POINTS AND AUTHORITIES
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 1    her individual case and separate PAGA action, in Class Counsel’s opinion, assisted
 2    greatly in leading to this Settlement. (Declaration of Katherine J. Odenbreit
 3    (“Odenbreit Dec.”), ¶4). 5
 4          On August 4, 2022, the Parties participated in a full day mediation with well
 5    regarded mediator, Hon. Carl West (Ret.) who is extremely familiar with class
 6    actions involving employees. (Odenbreit Dec., ¶5). At the end of the day the Parties
 7    had not resolved the matter, but after continued negotiations with the participation
 8    of the mediator, the Parties reached a settlement. Over the course of the next several
 9    months, the Parties exchanged settlement agreement drafts and continued
10    negotiations of the specific terms of the Settlement, resulting in the Settlement
11    Agreement presented to the Court for approval. (Odenbreit Dec., Exhibit A). At all
12    times, the negotiations leading to the Settlement Agreement have been adversarial,
13    non-collusive, and at arm’s length. (Odenbreit Dec. ¶ 5).
14           III.   TERMS OF THE SETTLEMENT
15          Pursuant to the settlement agreement, and in consideration for the releases
16    of all claims at issue, Defendant agrees to pay an amount not to exceed Four
17    Million Dollars ($4,000,000.00) (the “Total Settlement Amount”), excluding
18    Defendant’s side of payroll taxes (which Defendant will pay separately), as a full
19    and complete settlement of all claims asserted in the Class Action and PAGA
20    Action from all individuals who worked for Denny’s in California and classified
21    as non-exempt, hourly employees as any location in California during the time
22    period from December 9, 2017 to August 2, 2022. (“Class Members”) and persons
23
24
      5
       The Court noted in its Order granting preliminary approval Plaintiffs did not
      fully discuss whether the efforts in the separate actions should be considered.
25    (Dkt. No. 58, p. 18, fn. 9). Class Counsel believes that they should be considered
26    for final approval because the ongoing efforts and litigation by Plaintiff DeLeon
      provided an avenue for critical discovery and information to support the class
27    allegations at issue in this case. (Odenbreit Dec., ¶6).
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 1    employed by Denny’s in California classified as a non-exempt hourly employee
 2    from October 16, 2018 to August 4, 2022 (“Aggrieved Employees”). (Odenbreit
 3    Dec., Ex. A (Settlement Agreement”), ¶¶1.3, 1.4, 1.12, 1.31.) The Total Settlement
 4    Amount includes payments made to Class Members, settlement administration
 5    costs, court approved awards of attorneys’ fees and costs, the service award for
 6    Plaintiff Estrada, if approved, and payment to the LWDA. The Settlement
 7    Agreement provides that the Total Settlement Amount will be allocated as follows:
 8          •      Administration will be handled by Phoenix Class Action
 9                 Administrators, a third-party settlement Administrator, and the cost of
10                 the Administration shall not exceed fifty thousand dollars
11                 ($50,000.00) and will be paid out of the Gross Settlement Amount
12                 (Declaration of Kevin Lee, Phoenix Class Action Administrators
13                 (“PAS”) (“Lee Dec.”), ¶17, Ex. B; Odenbreit Dec. ¶ A, 1.1);
14          •      Defendant will not oppose an application for a Class Representative
15                 Service Payment to Class Representative Estrada in the amount of five
16                 thousand dollars ($5,000.00) to be paid out of the Gross Settlement
17                 Amount (Odenbreit Dec. Exhibit A, ¶¶1.14, 1.36, and 3.21);
18                 Defendant will not oppose Class/PAGA Counsel’s application for a
19                 Class/PAGA Counsel Fees Award that is up to one million three
20                 hundred twenty thousand dollars ($1,320,000.00), which is 33% of
21                 the Total Settlement Amount and Class Counsel Litigation Costs not
22                 to exceed thirty thousand dollars ($30,000.00) (Odenbreit Dec.,
23                 Exhibit A, ¶¶1.6, 3.2.2.);
24          • Fifty Thousand Dollars ($50,000.00) in PAGA Penalties from the Total
25              Settlement Amount to compromise of claims brought under the Private
26              Attorneys General Act of 2004, California Labor Code section 2698 et
27              seq. California Labor Code section 2699(i) requires that the parties
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 1             distribute any settlement of PAGA claims as follows: 75% to the State of
 2             California’s Labor Workforce Development Agency (“LWDA”) for
 3             enforcement of labor laws and education of employers in the amount of
 4             thirty-seven thousand five hundred dollars ($37,500.00); and 25% to
 5             “Aggrieved Employees” will be distributed from the Net Settlement
 6             Amount in the amount of twelve thousand five hundred dollars
 7             ($12,500.00). (Odenbreit Dec., Ex. A, ¶1.28, ¶1.35);
 8          • The Net Settlement Amount will be distributed as Individual Class
 9             Payment on a pro rata basis to Participating Class Members based on the
10             total number of Workweeks worked during the Class Period and
11             Individual PAGA Payments to Aggrieved Employees based on the total
12             number of Workweeks worked during the PAGA Period. (Odenbreit
13             Dec., Ex. A, ¶¶1.28, 1,23, 1.24, 1.48.) After the above referenced
14             deductions, the Net Settlement Amount is $2,545,000.00. (Lee Dec.,
15             ¶13).
16                 A.    Release of Claims
17          Pursuant to the Settlement Agreement upon entry of Final Judgment, the
18    Released Parties shall be entitled to a release of all wage and hour claims, charges,
19    complaints, liens, demands causes of action, obligations, damages and liabilities,
20    known or unknown, suspected or unsuspected, that each Plaintiff, Participating
21    Class Member, and Aggrieved Employee had, now has, or may hereafter claim to
22    have against Released Parties and that were asserted in the Class Action, the PAGA
23    Action, and/or the First Amended Complaint filed in the Class Action on behalf of
24    Plaintiff ESTRADA and Plaintiff DELEON, or that arise from or could have been
25    asserted based on any of the facts, circumstances, transactions, events, occurrences,
26    acts, disclosures, statements, omissions or failures to act alleged in Plaintiff
27    ESTRADA's and Plaintiff DELEON's' respective complaints and Plaintiff
                                               6
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 1    ESTRADA's and Plaintiff DELEON's First Amended Complaint regardless of
 2    whether such claims arise under federal, state and/or local law, statute, ordinance,
 3    regulation, common law, or other source of law that occurred during the Class
 4    Period and claims specifically raised in the PAGA Action and the PAGA Notice
 5    alleging violations of PAGA, specifically including alleged violations of Labor
 6    Code sections: 201, 202-203, 204, 221-225.5, 226,226.7, 510,512,558, 1174, 1194,
 7    1197, and 2802, as well as IWC Wage Order No. 5, subdivisions 3, 5, 9, 11, and 12,
 8    during the PAGA Period. ("Released Claims"). The Released Claims specifically
 9    include but are not limited to: (1) failure to pay all wages including overtime; (2)
10    failure to provide meal periods; (3) failure to provide rest periods; (4) failure to
11    provide accurate itemized wage statements; (5) failure to pay wages upon ending
12    employment; ( 6) failure to reimburse employees for necessary business
13    expenditures in violation of Labor Code section 2802; (7) unfair competition; (8)
14    violations of PAGA; and (9) any and all other claims for lost wages and/or wage
15    and hour violations. This release does not include claims outside the Class or PAGA
16    Periods or claims of harassment, retaliation, discrimination, workers' compensation,
17    disability, wrongful termination or unemployment benefits. (Odenbreit Dec., Ex. A,
18    ¶6.1).
19             Plaintiffs agree to a full release of all claims against Released Parties pursuant
20    to California Civil Code section 1542. (Odenbreit Dec., Ex. A, ¶6.1.1).
21                   B.     Notice
22             In advance of the final approval hearing, Notice was disseminated to the
23    Class Members and Aggrieved Employees as approved by the Court. (Dkt. No., 58,
24    pp. 33-34; Lee Dec., ¶¶3-5, Ex. A).
25    ///
26    ///
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 1           IV.    LEGAL STANDARD FOR FINAL APPROVAL
 2          Parties seeking class certification for settlement purposes must satisfy the
 3    requirements of Federal Rule of Civil Procedure 23. Amchem Prods., Inc. v.
 4    Windsor, 521 U.S. 591, 620–21 (1997). The threshold task when deciding whether
 5    to grant final approval of a class action settlement is to “ascertain whether the
 6    proposed settlement satisfies the requirements of Fed. R. Civ. P. 23(a), which are:
 7    (1) numerosity, (2) commonality, (3) typicality, and (4) adequacy of
 8    representation.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998). In
 9    considering such a request, the court must give the Rule 23 certification factors
10    “undiluted, even heightened, attention in the settlement context.” Amchem
11    Products, Inc., 521 U.S. at 620.
12          Once a class is certified, Rule 23(e) provides that “[t]he claims, issues, or
13    defenses of a certified class—or a class proposed to be certified for purposes of
14    settlement—may be settled . . . only with the court’s approval.” Fed. R. Civ. P.
15    23(e). “Courts reviewing class action settlements must ensure that unnamed class
16    members are protected from unjust or unfair settlements affecting their rights, while
17    also accounting for the strong judicial policy that favors settlements[.]” Campbell
18    v. Facebook, Inc., 951 F.3d 1106, 1121 (9th Cir. 2020) (internal quotation and
19    alteration marks omitted). A district court must examine the settlement for “overall
20    fairness[.]” In re Hyundai & Kia Fuel Econ. Litig., 926 F.3d 539, 569 (9th Cir.
21    2019) (en banc). Accordingly, before approving a class action settlement under Rule
22    23, a district court must conclude that the settlement is “fundamentally fair,
23    adequate, and reasonable.” Id.; Hanlon, 150 F.3d at 1026. In the Ninth Circuit, there
24    is a “strong judicial policy that favors settlements[.]” Allen v. Bedolla, 787 F.3d
25    1218, 1223 (9th Cir. 2015) (quoting In re Syncor ERISA Litig., 516 F.3d 1095, 1101
26    (9th Cir. 2008)).
27    ///
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 1                 A.     Final Confirmation of Class Certification is Appropriate
 2          In its Preliminary Approval Order, the Court certified a provisional
 3    settlement class. (Dkt. No. 58, p. pp. 9-16). The Court “need not find anew that the
 4    settlement class meets the certification requirements of Rule 23(a) and (b).” Adoma
 5    v. Univ. of Phoenix, Inc., 913 F. Supp. 2d 964, 974 (E.D. Cal. 2012); see also Smith
 6    v. Keurig Green Mountain, Inc., No. 18-CV-06690-HSG, 2023 WL 2250264, at *4
 7    (N.D. Cal. Feb. 27, 2023) (“Because no facts that would affect these requirements
 8    have changed since the Court preliminarily approved the class . . ., this order
 9    incorporates by reference the Court’s prior analysis under Rules 23(a) and (b) as set
10    forth in the order granting preliminary approval.”). Here, the Settlement Class has
11    not changed since it was conditionally certified. All the criteria for class
12    certification remain satisfied. Therefore, the Court confirms its Preliminary
13    Approval Order certifying the Settlement Class.
14           V.     FINAL       APPROVAL             OF    THE       SETTLEMENT             IS
15                  APPROPRIATE            AS     THE      SETTLEMENT            IS    FAIR,
16                  REASONABLE AND ADEQUATE
17          Once it has been established that the proposed settlement would bind class
18    members, “the court may approve it only after a hearing and finding that it is fair,
19    reasonable, and adequate” after considering the following factors:
20
21          (A) the class representatives and class counsel have adequately represented
            the class;
22          (B) the proposal was negotiated at arm's length; (C) the relief provided for
23          the class is adequate, taking into account: (i) the costs, risks, and delay of trial
            and appeal; (ii) the effectiveness of any proposed method of distributing
24          relief to the class, including the method of processing class-member claims;
25          (iii) the terms of any proposed award of attorney's fees, including timing of
            payment; and (iv) any agreement required to be identified under Rule
26          23(e)(3); and (D) the proposal treats class members equitably relative to each
27          other.
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 1    Fed. R. Civ. P. 23(e)(2); see also McKinney-Drobnis v. Oreshack, 16 F.4th 594,
 2    607 (9th Cir. 2021) (“In 2018, Congress amended Rule 23(e)(2) to provide specific
 3    factors for a district court to consider in determining whether a settlement is ‘fair,
 4    reasonable, and adequate.’” (quoting Fed. R. Civ. P. 23(e)(2)).
 5          The Court must apply a “higher level of scrutiny for evidence of collusion or
 6    other conflicts of interest,” irrespective of whether the settlement agreement was
 7    negotiated before or after class certification. In re Bluetooth Headset Prod. Liab.
 8    Litig., 654 F.3d 935, 946 (9th Cir. 2011); see Briseno v. Henderson, 998 F.3d 1014,
 9    1025 (9th Cir. 2021) (holding that “courts must apply Bluetooth’s heightened
10    scrutiny to post-class certification settlements in assessing whether the division of
11    funds between the class members and their counsel is fair and “adequate”).
12                 A.     Class Representative Estrada and Class Counsel Have
13                        Adequately Represented the Class
14          The first factor requires that the class representatives and class counsel have
15    adequately represented the class. Fed. R. Civ. P. 23(e)(2)(A). Class representatives
16    are adequate if the named plaintiff and counsel do not have any conflicts of interest
17    with other class members and will prosecute the action vigorously on behalf of the
18    class. Hanlon, 150 F.3d at 1020. Adequate representation of counsel is generally
19    presumed in the absence of contrary evidence. See Californians for Disability Rts.,
20    Inc. v. California Dep't of Transp., 249 F.R.D. 334, 349 (N.D. Cal. 2008).
21          In its Order granting preliminary approval of the Settlement, the Court found
22    Class Representative Estrada satisfied the adequacy requirement and appointed
23    Kevin Mahoney, Katherine J. Odenbreit and Raleigh Dixon as Class Counsel. (Dkt.
24    No. 58, p. 13). “Because the Court found that adequacy under Rule 23(a)(4) has
25    been satisfied above, due to the similarity, the adequacy factor under Rule
26    23(e)(2)(A) is also met.”. Hilsley v. Ocean Spray Cranberries, Inc., No. 3:17-CV-
27    2335-GPC-MDD, 2020 WL 520616, at *5 (S.D. Cal. Jan. 31, 2020). Given Plaintiff
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 1    and Class Counsel’s extensive work and familiarity with this case and counsel’s
 2    experience litigating wage and hour class actions, (Dkt. No. 58, p.13), Plaintiff and
 3    Class Counsel possess sufficient information to make an appropriate and informed
 4    evaluation of the proposed Settlement and appear to have diligently prosecuted this
 5    action. (Dkt. No. 58, p. 13; Odenbreit Dec., ¶¶8-17; Declaration of Kevin Mahoney
 6    filed with Plaintiffs’ Motion for Preliminary Approval; Dkt. No. 52-2, ¶¶4-7;
 7    Declaration of Raleigh Dixon, Dkt. 52-3, ¶¶2-5). Additionally, Class Counsel has
 8    extensive experience litigating wage and hour class/PAGA actions and with class
 9    employment litigation. (Dkt. No. 58, p. 13). Class Counsel’s firm has extensive
10    experience in class actions, including representing parties as lead counsel in land-
11    mark wage and hour cases. (Dkt. No. 58, p. 13-14).
12           Plaintiff Estrada has no known conflicts with the class and seeks the same
13    relief as the class. (Declaration of Maria Estrada in Support of Preliminary
14    Approval, Dkt. No. 52-8, ¶¶5-6). Ms. Estrada seeks the same damages and remedies
15    as the Class, specifically for unpaid wages, meal and rest period penalties, penalties
16    for failure to provide accurate itemized wages statements, and other available
17    remedies. (Dkt. No. 52-8, ¶9). For the reasons set forth above and in the
18    accompanying declarations, Plaintiff Estrada and Class Counsel have satisfied the
19    adequacy requirement.
20                 B.     The Settlement is a Product of Arm’s Length Negotiation
21           As discussed more extensively in the Parties’ Motion for Preliminary
22    Approval of Class Action Settlement (Dkt. No. 52), as well as in Plaintiffs’ Motion
23    for Attorney’s Fees (“Fees Motion”) concurrently filed herewith, (1) Class Counsel
24    are highly experienced in class action wage and hour litigation; (2) Plaintiff and
25    Defendant conducted significant discovery and investigation that allowed Class
26     ///

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 1    Counsel to act intelligently in negotiating and recommending the settlement 6; and,
 2    (3) the Parties arrived at the settlement through arms-length bargaining involving
 3    competent and experienced counsel, and only after a full day of mediation with an
 4    a former complex judge and experienced mediator. (See Rodriguez v. W. Publ'g
 5    Corp., 563 F.3d 948, 965 (9th Cir. 2009) (“We put a good deal of stock in the
 6    product of an arms-length, non-collusive, negotiated resolution, and have never
 7    prescribed a particular formula by which that outcome must be tested.”) (citations
 8    omitted); In re Zynga Inc. Sec. Litig., No. 12-CV-04007-JSC, 2015 WL 6471171,
 9    at *9 (N.D. Cal. Oct. 27, 2015) (holding that the parties’ use of mediator and the
10    fact that significant discovery had been conducted “support the conclusion that the
11    Plaintiff was appropriately informed in negotiating a settlement”); Harris v. Vector
12    Mktg. Corp., No. C-08-5198 EMC, 2011 WL 1627973, at *8 (N.D. Cal. Apr. 29,
13    2011) (noting that the parties’ use of a mediator “suggests that the parties reached
14    the settlement in a procedurally sound manner and that it was not the result of
15    collusion or bad faith by the parties or counsel.”
16          Finally, none of the “subtle signs of collusion” that the Ninth Circuit has
17    warned of are present here. (See e.g. In re Bluetooth Headset Products Liability
18    Litigation, 654 F.3d at 947.) Class Members will be receiving monetary distribution
19    commensurate with their pro rata share of the Gross Settlement Amount, and based
20    upon the number of Workweeks they have worked for Defendant. (Lee Dec., ¶¶11,
21    14). Further, Class Counsel will be applying for a percentage of the common fund
22    6
       At preliminary approval the Court indicated Plaintiff had not addressed whether
23    the discovery efforts included the discovery conducted in the DeLeon dismissed
24    class case. (ECF Dkt. No. 58, p. 18 fn9). In that case Plaintiffs secured responses
      to written discovery and the deposition of two representative plaintiffs were taken.
25    The parties in the DeLeon v. Denny’s separate PAGA action stipulated to utilize
26    the discovery conducted in the DeLeon class case in the PAGA action so this
      discovery was considered by Plaintiffs in the mediation and Settlement.
27    (Odenbreit Dec., ¶6).
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 1    fee award in an amount not to exceed one-third of the Gross Settlement Amount to
 2    compensate them for the services they have rendered on behalf of the Settlement
 3    Class Members. (See generally, Motion for Attorneys’ Fees and Costs.) The award
 4    of attorneys’ fees is separate from the approval of the Settlement, and neither
 5    Plaintiff nor Class Counsel may cancel or terminate the Settlement based on this
 6    Court’s or any appellate court’s ruling with respect to attorneys’ fees. Moreover,
 7    there is no indication of a “clear sailing” arrangement, or an arrangement for
 8    unawarded fees to revert to Defendant rather than the Class Members. (Odenbreit
 9    Dec., Ex. A, ¶3.1.) The Settlement is not a claims-made settlement. It is an all-in,
10    non-reversionary settlement. As such, this factor weighs in favor of approval.
11                   C.   The Settlement Provides Adequate Relief to the Class
12          The third factor requires the court to consider: “(i) the costs, risks, and delay
13    of trial and appeal; (ii) the effectiveness of any proposed method of distributing
14    relief to the class, including the method of processing class-member claims; (iii) the
15    terms of any proposed award of attorneys’ fees, including timing of payment; and
16    (iv) any agreement required to be identified under Rule 23(e)(3).” Fed. R. Civ. P.
17    23(e)(2)(C).
18                   i.   The Costs and Risks of Further Litigation Support Approval
19          The Court must “balance the continuing risks of litigation (including the
20    strengths and weaknesses of the Plaintiff’s case, with the benefits afforded to
21    members of the Class, and the immediacy and certainty of a substantial recovery.”
22    (Velazquez v. International Marine and Industrial Applicators, LLC (S.D. Cal., Feb.
23    Velazquez v. Int'l Marine & Indus. Applicators, LLC, No. 16CV494-MMA (NLS),
24    2018 WL 828199, at *4 (S.D. Cal. Feb. 9, 2018).) “In most situations, unless the
25    settlement is clearly inadequate, its acceptance and approval are preferable to
26    lengthy and expensive litigation with uncertain results.” Reed v. Bridge
27    Diagnostics, LLC, No. 821CV01409CJCKES, 2023 WL 4833461, at *6 (C.D. Cal.
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 1    July 27, 2023).
 2          Plaintiffs are convinced of the strengths of their claims. However, Defendant
 3    is equally adamant about the strength of its defenses. Plaintiffs’ claims and
 4    Defendant’s defenses give rise to a number of critical, disputed factual and legal
 5    issues that go to the core of Plaintiffs’ claims and theories of liability and, by
 6    extension, to Plaintiffs’ entitlement to recover damages and penalties on behalf of
 7    the class/aggrieved employees, and/or the proper measure of damages. If litigation
 8    proceeded, Plaintiff Estrada would seek certification of a class of over 8,500
 9    employees which would require extensive expense for expert analysis in support
10    of a proposed trial plan and damages presentation for the class. (Odenbreit Dec.,
11    ¶18). I personally was involved in a PAGA bench trial in 2017/2018 where the
12    costs exceeded $75,000.00. (Odenbreit Dec., ¶18). Additionally, if the case
13    proceeded with litigation, Plaintiffs would have been required to file a class
14    certification motion in approximately 4-6 months. (See this Court’s Standing Civil
15    Order, ¶K.1). Presentation of the class certification motion also would require
16    engagement of an expert, depositions and securing class contact information.
17    (Odenbreit Dec., ¶19). By securing a monetary settlement at this stage of the
18    litigation, Plaintiffs have avoided most of these additional costs resulting in more
19    funds going to the Class Members. (Odenbreit Dec., ¶19).
20                 ii.   The Amount of the Settlement Favors Approval
21          The Court must weigh the risk to Plaintiff against the value of the
22    Settlement. (Officers for Just. v. Civ. Serv. Comm'n of City & Cnty. of San
23    Francisco, 688 F.2d 615, 625 (9th Cir. 1982).) The Settlement provides a Gross
24    Settlement of four million dollars ($4,000,000.00). The Net Settlement Value after
25    deduction for the administration costs, representative service payment, estimated
26    attorneys’ fees, costs of litigation and PAGA Payment is $2,525,000.00 providing
27    for an average payment per class member of $297.42. (Lee Dec., ¶¶13, 14).
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 1          At preliminary approval, the Court found Class Counsel’s estimate that the
 2    Total Settlement Amount (“TSA”) representing approximately 44%, or 28% if the
 3    estimated exposure of the PAGA claims is included, of the total estimated verdict
 4    value for the class claims to be reasonable in light of the risks and costs associated
 5    with continued litigation and the immediate recovery provided to the Class. (ECF
 6    Dkt. No. 58, p. 21:26-36:1, p. 22, fn. 10, p. 23:20-27). With regards to the PAGA
 7    claim allocation, the Court requested Class Counsel address the reduction of the
 8    estimated PAGA recovery consistent with the fact-specific analysis set forth in
 9    other district court cases including Viceral v. Mistras Grp., Inc., No. 15-CV-02198-
10    EMC, 2016 WL 5907869 (N.D. Cal. Oct. 11, 2016) and O'Connor v. Uber Techs.,
11    Inc., 201 F. Supp. 3d 1110 (N.D. Cal. 2016). (ECF Dkt. No. 58, p. 25:23-26:13).
12                 a. The PAGA Allocation of Approximately 1.25% of the GSA Is
13                    Reasonable and Is Consistent with the Purpose of PAGA
14          When evaluating the reasonableness of a combined class and PAGA
15    settlement, the court must look at the settlement as a whole to ensure the settlement:
16    (1) meets the statutory requirements set forth by PAGA, and (2) the settlement is
17    fair, reasonable and adequate in view of PAGA’s public policy goals. Martinez v.
18    Knight Trans., Inc. *7. Where the proposed settlement involves overlapping class
19    Labor Code claims and PAGA claims the court applies a sliding scale analysis to
20    determine if the settlement as a whole vindicates the rights of employees and the
21    state. Id. at 8, citing O'Connor v. Uber Techs., Inc., 201 F. Supp. 3d 1110 (N.D.
22    Cal. 2016). Where the settlement provides “robust”, fair compensation to the
23    employees, it both vindicates the rights of the aggrieved employees and also can
24    act as a deterrent effect on the employer to the benefit of future employees such
25    that the settlement is consistent with the objective of PAGA allowing the Court to
26    find a significantly discounted PAGA allocation is fair and reasonable. Id., see also
27    Haralson v. U.S. Aviation Svcs. Corp. Case No. 16-cv-05207-JST, 2020 WL
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 1    1239507 *6 (N.D.Cal.Sept. 3, 2020); Viceral, supra at *9. PAGA claims based on
 2    the same Labor Code sections as the class allegations are also subject to the same
 3    defenses and risks the court found reasonable to accept the reduction of the class
 4    claims. Martinez v. Knight, supra at *11, citing Viseral, supra at *9. Further, the
 5    court also considers the LWDA’s decision not to comment or object to the
 6    settlement after being notified as “implicit approval of the parties’ agreement”.
 7    Ranger v. Shared Imaging, LLC., No. 2:20-CV-401-KJN, 2023 WL 4352624, at
 8    *12 (E.D. Cal. July 5, 2023), citing Rodriguez v. Danell Custom Harvesting, LLC,
 9    293 F. Supp. 3d 1117, 1133 (E.D. Cal. 2018) (approving .6% PAGA payment
10    because LWDA did not object); Mancini v. W. & S. Life Ins. Co., No. 16CV2830-
11    LAB (WVG), 2018 WL 4489590, at *2 (S.D. Cal. Sept. 18, 2018) (taking LWDA’s
12    “acquiescence as indication that the settlement is presumptively reasonable”.)
13          In this case, Plaintiffs estimated the more realistic verdict value of the PAGA
14    claims was $5,000,000-$7,000,000. (ECF Dkt. No. 52-1, p. 60:22-61:3). However,
15    even that estimate is overly optimistic. The court has the ability to reduce penalties
16    proven at trial under PAGA if the court determines the total assessment of the
17    penalties would be “unjust, arbitrary, and oppressive”. (Labor Code §2699(e)(2).)
18    In Carrington v. Starbucks Corp., 30 Cal. App. 5th 504 (2018), the court reduced
19    the proven PAGA penalties of over $70 million to $150,000. (Id. at 517, 529)7. The
20    drastic reduction in penalties is a realistic possibility adding to the risk Plaintiffs
21    must consider when accepting a reduced settlement. See, In re Uber FCRA Litig.,
22    No. 14-CV-05200-EMC, 2017 WL 2806698, at *7 (N.D. Cal. June 29, 2017)
23    (approving settlement worth less than 7.5% of possible verdict where class faced
24    7
       See e.g., Fleming v. Covidien Inc., No. (OPX), 2011 WL 7563047, at *4 (C.D.
25    Cal. Aug. 12, 2011) (reducing PAGA penalties by 82%); Kaanaana v. Barrett
26    Bus. Servs., Inc., 29 Cal. App. 5th 778, 788 (2018) (reducing $409,950 in PAGA
      penalties to $53,294 (13%).
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 1    “substantial risks and obstacles” to prevailing at trial, as well as “the inevitable
 2    expense of litigating a large, complex case through trial.”; Jennings v. Open Door
 3    Mktg., LLC, No. 15-CV-04080-KAW, 2018 WL 4773057, at *7, 9 (N.D. Cal. Oct.
 4    3, 2018) (approving 0.6 percent PAGA allocation after finding that deeply
 5    discounted settlement reflected “significant risk that further litigation would lead to
 6    lower or likely even no recovery”).) Here, the Total Settlement Amount is 26%
 7    percent of the reasonable potential verdict value and the PAGA allocation is 1.25%
 8    of the Total Settlement Amount which given the risks of continued litigation and
 9    robust settlement secured for the employees is reasonable. (Odenbreit Dec., ¶22).
10          Also, in this case, unlike in the O'Connor v. Uber Techs., Inc., 201 F. Supp.
11    3d 1110 (N.D. Cal. 2016) case in which the LWDA objected to the PAGA
12    allocation, the LWDA has been provided with a copy of the Settlement and has
13    provided no comment or objection. (Odenbreit Dec., ¶20). The PAGA aggrieved
14    employees are also class members under the settlement such that the PAGA
15    Payment is in addition to what they will receive as class members while requiring
16    an increased allocation to the PAGA claims would shift funds away from other
17    class members. Ranger, supra at *12 [citations omitted]. Finally, the Settlement
18    provides substantial monetary relief to the employees. The average class member
19    payment is $297.42. (Lee Dec., ¶14). On average this equates to payment for nearly
20    22 hours of work. (Odenbreit Dec., ¶21). Plaintiffs contend the PAGA allocation
21    and the total settlement are fair, reasonable and vindicate the rights under PAGA.
22    ///
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 1                 iii.   The Settlement Provides for Equal Treatment of Class
 2                        Members
 3          The settlement proposed by the Parties reflects no significant indication of
 4    preferential treatment. As described in the Proposed Notice:
 5
 6          The Claims Administrator will calculate each Settlement Class
            Member’s pro-rata share of the Net Settlement as follows: The Claims
 7          Administrator will calculate the number of total Compensable Work
 8          Weeks for each Settlement Class Member. (“Class Payment”) Work
            Weeks will be calculated according to records and information
 9          provided by Defendant for time worked by Class Members for
10          Defendant at any time from December 9, 2017 and August 4, 2022.
            For employees who worked for Defendant at a restaurant location in
11          California at any time between August 2, 2021 to August 4, 2022
12          (“Aggrieved Employees”) and who are eligible for a share under the
            California Labor Code’s Private Attorneys General Act of 2004 (Lab.
13          Code, § 2698 et seq.)(“PAGA”), the Claims Administrator will also
14          calculate the employee’s share of the PAGA Allocation based on
            records and information provided by Defendant on eligible employees’
15          Pay Periods. (“PAGA Payment”). (Lee Dec., Ex. A: Notice, p. 2)
16          See, e.g., Altamirano v. Shaw Indus., Inc., No. 13-CV-00939-HSG, 2015
17    WL 4512372, at *8 (N.D. Cal. July 24, 2015) (finding no preferential treatment
18    because the settlement “compensates class members in a manner generally
19    proportionate to the harm they suffered on account of [the] alleged misconduct”).
20    As the settlement proposed by the Parties reflects no significant indication of
21    preferential treatment, this factor cuts in favor of final approval.
22                 iv.    The Absence of Any Class Member Objection to the Settlement
23                        Agreement Supports Final Approval
24          There have been no objections to the Settlement made by any Class Member
25    and only two Class Members requested exclusion from the settlement. (Lee Dec.,
26    ¶¶8, 9). “[T]he absence of any objections to the Settlement Agreement among
27    ///
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 1    Class Members supports final approval.” In re Aftermarket Automotive Lighting
 2    Products Antitrust Litigation (C.D. Cal., Jan. In re Aftermarket Auto. Lighting
 3    Prod. Antitrust Litig., No. 09 MDL 2007-GW(PJWX), 2014 WL 12591624, at *3
 4    (C.D. Cal. Jan. 10, 2014). Even in cases where objections are made, it is recognized
 5    that a small number of objections indicates a favorable class reaction. See Nat'l
 6    Rural Telecommunications Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 526 (C.D.
 7    Cal. 2004) (holding that “in the absence of a large number of objections to a
 8    proposed class action settlement, settlement actions are favorable to the class
 9    members.”); Atlas v. Accredited Home Lenders Holding Co. (S.D. Cal., Nov. Atlas
10    v. Accredited Home Lenders Holding Co., No. 07-CV-00488-H (CAB), 2009 WL
11    3698393, at *4 (S.D. Cal. Nov. 4, 2009) (recognizing that only two class members
12    submitted objections to the plan of allocation in deciding to approve the plan of
13    allocation); see also Mandujano v. Basic Vegetable Prod., Inc., 541 F.2d 832, 837
14    (9th Cir. 1976).
15                           v.   Additional Rule 23(e) Factors
16           The judgment of experienced counsel regarding the settlement is entitled to
17    great weight. (Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998);
18    Boyd v. Bechtel Corp., 485 F. Supp. 610, 622 (N.D. Cal. 1979); Ellis v. Naval Air
19    Rework Facility, 87 F.R.D. 15, 18 (N.D. Cal. 1980).) Reliance on such
20    recommendations is premised on the fact that “parties represented by competent
21    counsel are better positioned than courts to produce a settlement that fairly reflects
22    each party’s expected outcome in litigation.” (Rodriguez v. W. Publ'g Corp., 563
23    F.3d 948, 967 (9th Cir. 2009) (quoting In re Pac. Enterprises Sec. Litig., 47 F.3d
24    373, 378 (9th Cir. 1995)).) Here, counsel for both Parties endorse the Settlement
25    as fair, adequate, and reasonable. Plaintiff’s Counsel and Defendant’s counsel each
26    have extensive experience in prosecuting and litigating class action wage and hour
27    suits like this one.
                                                19
28
                     MEMORANDUM OF POINTS AND AUTHORITIES
     Case 2:22-cv-00572-SPG-AGR       Document 61 Filed 05/28/24        Page 27 of 28 Page ID
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 1          Further, as discussed in the contemporaneously filed Motion for Class
 2    Representative Service Payment, Attorneys’ Fees, and Reimbursement of Costs
 3    and Expenses, the proposed attorneys’ fees of one-third or thirty-three and one-
 4    third percent (33.33%) of the Gross Settlement Amount to be reasonable in light
 5    of the risk involved in this litigation, the work performed by Class Counsel, and
 6    the fact that there were no objections to this amount. Moreover, approval of the
 7    requested attorneys’ fees is separate from approval of the Settlement, and the
 8    Settlement Plaintiffs have waived any right to appeal based on a ruling regarding
 9    attorneys’ fees. (Odenbreit Dec., Ex. A, ¶10.5.) The fact that qualified and well-
10    informed counsel endorse the Settlement as being fair, reasonable, and adequate
11    heavily favors this Court’s approval of the Settlement.
12    VI.   CONCLUSION
13          The Parties have negotiated a fair and reasonable settlement of the claims
14    that meet the requirements of final approval pursuant to Rule 23, subdivision (e)
15    of the Federal Rules of Civil Procedure. The Parties thereby request that the Court
16    (1) grant final approval of the Settlement, and (2) grant final class certification and
17    class action designation of the Settlement.
18                                            By:    Katherine J. Odenbreit
19                                                   Kevin Mahoney
20                                                   Katherine J. Odenbreit
                                                     Attorneys for Plaintiff Estrada, as an
21                                                   individual and on behalf of similarly
22                                                   situated employees and Plaintiff
                                                     Myra De Leon, as an individual and
23                                                   on behalf of the State of California
24                                                   and all aggrieved employees
25
26
27
                                                20
28
                    MEMORANDUM OF POINTS AND AUTHORITIES
     Case 2:22-cv-00572-SPG-AGR           Document 61 Filed 05/28/24             Page 28 of 28 Page ID
                                                #:559



1                                        PROOF OF SERVICE
                                    Code of Civ. Proc. § 1013a, subd. (3)
2
                      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
3
             I am employed in the County of Los Angeles, State of California. I am over the age of 18
4     and not a party to the within action. My business address is 249 East Ocean Boulevard, Suite
      814, Long Beach, California, 90802.
5
           On May 28, 2024, I served [X] true copies [ ] originals of the following document(s):
6     NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF CLASS ACTION
      AND PAGA SETTLEMENT. I served the document(s) on the person(s) below as follows:
7
           Matthew W. Farmer, Esq.                    Attorneys for Defendant DENNY’S INC.
8          LITTLER MENDELSON, P.C.
           18565 Jamboree Road, Suite 800             Telephone:     (949) 705-3000
9          Irvine, CA 92612                           Facsimile:     (949) 724-1201
                                                      Email:         mfarmer@littler.com
10
           Nelly N. Chavez, Esq.                      Attorney for Defendant DENNY’S INC.
11         LITTLER MENDELSON, P.C.
           500 Capitol Mall, Suite 2000               Telephone:     (916) 830- 7200
12         Sacramento, CA 95814                       Facsimile:     (916) 561- 0828
                                                      Email:         nchavez@littler.com
13

14           The document(s) were served by the following means:
15
                   By e-mail: Based upon court order or an agreement of the parties to accept service
16
      by e-mail, I caused the document(s) to be sent to the persons at the electronic service addresses
      listed above from the email address edavies-miller@mahoney-law.net. Within a reasonable time
17    after the transmission, no error, electronic message or any other indication that the transmission
      was unsuccessful was received.
18
                  (State): I declare under penalty of perjury under the laws of the State of California
19
      that the foregoing is true and correct.
20
             Executed on May 28, 2024, at Long Beach, California.
21

22
                                                              ~ tJ(JqJ ~
23                                                  ________________________________
                                                    Emily Davies-Miller
24

25

26

27

28                                                     1
                                               PROOF OF SERVICE
